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      Attorney(s) for Rothschild Patent Imaging, LLC
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  8                     IN THE UNITED STATES DISTRICT COURT
  9
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
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 12    ROTHSCHILD PATENT IMAGING,
       LLC,
 13
                          Plaintiff,                 CASE NO. 8:21-cv-01809
 14

 15
       v.                                            JURY TRIAL DEMANDED

 16    CIRCLE 38, INC.,
 17                       Defendant.
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 20
                                          COMPLAINT
 21
            Plaintiff Rothschild Patent Imaging LLC (“Plaintiff” and/or “RPI”) files this
 22
      original Complaint against Circle 38, Inc. (“Defendant” and/or “Circle 38”) for
 23
      infringement of United States Patent No. 8,437,797 (“the ‘797 Patent”).
 24
                               PARTIES AND JURISDICTION
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            1.     This is an action for patent infringement under Title 35 of the United
 26
      States Code. Plaintiff is seeking injunctive relief as well as damages.
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  1          2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
  2   (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
  3   infringement arising under the United States patent statutes.
  4          3.     Plaintiff is a Texas limited liability company having an address at 1 East
  5   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
  6          4.     On information and belief, Defendant is a California corporation with a
  7   place of business at 1968 S. Coast Hwy, #2844, Laguna Beach, CA 92651. On
  8   information and belief, Defendant may be served through its agent, Kayleigh Mills,
  9   at the same address.
 10          5.     On information and belief, this Court has personal jurisdiction over
 11   Defendant because Defendant has committed, and continues to commit, acts of
 12   infringement in this District, has conducted business in this District, and/or has
 13   engaged in continuous and systematic activities in this District.
 14          6.     On information and belief, Defendant’s instrumentalities that are alleged
 15   herein to infringe were and continue to be used, imported, offered for sale, and/or sold
 16   in this District.
 17                                           VENUE
 18          7.     Venue is proper in this District pursuant to 28 U.S.C. § 1400(b) because
 19   Defendant is deemed to reside in this District. Alternatively, acts of infringement are
 20   occurring in this District and Defendant has a regular and established place of
 21   business in this District.
 22                                          COUNT I
 23         (INFRINGEMENT OF UNITED STATES PATENT NO. 8,437,797)
 24          8.     Paragraphs 1-7 are incorporated herein.
 25          9.     This cause of action arises under the patent laws of the United States and,
 26   in particular, under 35 U.S.C. §§ 271, et seq.
 27          10.    Plaintiff is the owner by assignment of the ‘797 Patent with sole rights to
 28   enforce the ‘086 patent and sue infringers.
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  1         11.    A copy of the ‘797 Patent, titled “Wireless Image Distribution System and
  2   Method,” is attached hereto as Exhibit A.
  3         12.    The ‘797 Patent is valid, enforceable, and was duly issued in full
  4   compliance with Title 35 of the United States Code.
  5         13.    On information and belief, Defendant has infringed and continues to
  6   infringe one or more claims (at least by having its employees, or someone under
  7   Defendant's control, test the accused product), including at least Claim 16 of the ‘797
  8   Patent by making, using, importing, selling, and/or offering for sale network storage
  9   systems including hardware, software and firmware, covered by at least Claim 16 of
 10   the ‘797 Patent.
 11         14.    On information and belief, Defendant sells, offers to sell, and/or uses
 12   network storage systems and methods including, without limitation, the Circle 38
 13   and/or PhotoCircle photo, media, and file storage and sharing system, and any similar
 14   products, including hardware, apps, and other software (“Product”), which infringe at
 15   least Claim 16 of the ‘797 Patent.
 16         15.    The Product uses an image capturing device to perform a method. The
 17   Product receives and filters photographic images from cameras. The Product also
 18   shares the images according to certain conditions. Certain aspects of this element are
 19   illustrated in the screenshots below, and/or the screenshots provided in connection with
 20   other elements discussed herein.
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 16         16.    The Product practices receiving a plurality of images. For example, the
 17   Product provides for receiving multiple photos from a user device and receiving the
 18   photos in a photo library. The Product’s app can access captured images (e.g., images
 19   stored on a smartphone) and allow a user to transfer the images to other users. Certain
 20   aspects of this element are illustrated in the screenshots below, and/or the screenshots
 21   provided in connection with other elements discussed herein.
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 16         17.    The Product practices filtering the plurality of photographic images (e.g.,

 17   sorting the photos) using a transfer criteria (e.g., by person, scene, location, date

 18   range, etc.). Certain aspects of this element are illustrated in the screenshots below,

 19   and/or the screenshots provided in connection with other elements discussed herein.

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            18.    The Product practices transmitting, via a wireless transmitter and to a
 17
      second image capturing device, the filtered plurality of photographic images. For
 18
      example, files of filtered photos can be shared with other mobile devices. The Product
 19
      enables a user to search, download, and share photos to a second image capturing
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      device (e.g., another mobile device or a computer). Certain aspects of this element are
 21
      illustrated in the screenshots below, and/or the screenshots provided in connection
 22
      with other elements discussed herein.
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 14         19.    When using the Product to share photos with a group (e.g., social media
 15   group or private group), the image capturing device and the second mobile device are
 16   disposed in a selectively paired relationship with one another based upon an affinity
 17   group associated with the second mobile device (e.g., the users of both devices belong
 18   to the same social media group and may send images to each other as well as other
 19   users). Certain aspects of this element are illustrated in the screenshots below, and/or
 20   the screenshots provided in connection with other elements discussed herein.
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   1         20.    Defendant’s actions complained of herein will continue unless Defendant
   2   is enjoined by this Court.
   3         21.    Defendant’s actions complained of herein are causing irreparable harm
   4   and monetary damage to Plaintiff and will continue to do so unless and until Defendant
   5   is enjoined and restrained by this Court.
   6         22.    Plaintiff is in compliance with 35 U.S.C. § 287.
   7                                       JURY DEMAND
   8         23.    Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
   9   respectfully requests a trial by jury on all issues so triable.
  10                                   PRAYER FOR RELIEF
  11         WHEREFORE, Plaintiff asks the Court to:
  12         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
  13   asserted herein;
  14         (b)    Enter an Order Enjoining Defendant, its agents, officers, servants,
  15   employees, attorneys, and all persons in active concert or participation with Defendant
  16   who receive notice of the order from further infringement of United States Patent No.
  17   9,936,086 (or, in the alternative, awarding Plaintiff a running royalty from the time of
  18   judgment going forward);
  19         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
  20   accordance with 35 U.S.C. § 284;
  21         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
  22         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
  23   entitled under law or equity.
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       Dated: November 1, 2021                  Respectfully submitted,
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  26                                            /s/ Stephen M. Lobbin
                                                Attorney(s) for Plaintiff
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